Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 1 of 25 Page ID #689




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 MARION DIAGNOSTIC CENTER, LLC;             )
 and MARION HEALTHCARE, LLC,                )
 individually and on behalf of all others   )
 similarly situated,                        )
                                            )
                                                Case No. 3:18-CV-01059-NJR-RJD
                     Plaintiffs,            )
                                            )
       v.                                   )
                                            )
                                                JURY TRIAL DEMANDED
 BECTON, DICKINSON, AND COMPANY;            )
 CARDINAL HEALTH, INC.; and                 )
 MCKESSON MEDICAL-SURGICAL INC.,            )
                                            )
                     Defendants.            )




                     THE DISTRIBUTOR DEFENDANTS’
             MOTION TO DISMISS AND MEMORANDUM IN SUPPORT
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 2 of 25 Page ID #690




                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii
PRELIMINARY STATEMENT .....................................................................................................1
BACKGROUND .............................................................................................................................3
A.        The Markets For The Relevant Products. ............................................................................3
B.        Initial Motions To Dismiss. .................................................................................................4
C.        Seventh Circuit Appeal. .......................................................................................................5
D.        Second Amended Complaint. ..............................................................................................6
ARGUMENT ...................................................................................................................................7
I.        PLAINTIFFS LACK STANDING TO SUE CARDINAL. ................................................7
          A. Plaintiffs Allege Facts Proving They Lack Article III Standing To Sue
             Cardinal.........................................................................................................................7
          B. Plaintiffs Cannot Establish Article III Standing By Piggy-Backing On The
             Hypothetical Claims Of Unnamed Putative Class Members. .......................................9
II.       THE SECOND AMENDED COMPLAINT FAILS TO ALLEGE A PLAUSIBLE
          VERTICAL CONSPIRACY TO UNREASONABLY RESTRAIN TRADE. .................10
          A. Plaintiffs’ Vertical Conspiracy Allegations Do Not Allege the Required
             Element of Market Power or That Either Alleged Conspiracy Itself
             Restrained Trade. ........................................................................................................10
                 1.    Plaintiffs Fail to Plead Each Defendant Individually Has Market Power. ..........10
                 2.    Plaintiffs Cannot Aggregate BD’s, Cardinal’s, and McKesson’s Market
                       Shares to Allege the Vertical Conspiracies Unreasonably Restrained
                       Trade. ...................................................................................................................13
          B. Plaintiffs Also Fail to Allege Conduct Supporting an Inference of Conspiracy
             Between Either BD and Cardinal, or Between BD and McKesson. ...........................14
                 1.    The Seventh Circuit Rejected Antitrust Claims Against Cardinal and
                       McKesson Based on the BD-GPO Contracts. .....................................................15
                 2.    Plaintiffs’ New Allegations That Distributors Engaged in Improper
                       Business Conduct Do Not State an Antitrust Violation. .....................................15
CONCLUSION ..............................................................................................................................20




                                                                       i
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 3 of 25 Page ID #691




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Atl. Richfield Co. v. USA Petroleum Co.,
    495 U.S. 328 (1990) .................................................................................................................12

Ball Mem’l Hosp., Inc. v Mut. Hosp. Ins., Inc.,
   784 F.2d 1325 (7th Cir. 1986) .................................................................................................10

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) .................................................................................................................19

Campfield v. State Farm Mut. Auto. Ins. Co.,
  532 F.3d 1111 (10th Cir. 2008) ...............................................................................................10

Continental T. V., Inc. v. GTE Sylvania Inc.,
   433 U. S. 36 (1977) ............................................................................................................10, 13

Dickson v. Microsoft Corp.,
   309 F.3d 193 (4th Cir. 2002) .............................................................................9, 10, 11, 13, 14

Glynn-Brunswick Hosp. Auth. v. Becton,
   159 F. Supp. 3d 1361 (S.D. Ga. 2016) .......................................................................................2

Havoco of Am, Ltd. v. Shell Oil Co.,
   626 F.2d 549 (7th Cir. 1980) ...................................................................................................18

Jackson v. Resolution GGF Oy,
   136 F.3d 1130 (7th Cir. 1998) ...................................................................................................8

Jett v. Warrantech Corp.
    436 F. Supp. 3d 1170 (S.D. Ill. 2020) ....................................................................................7, 8

Kendall v. Visa U.S.A., Inc.,
   518 F.3d 1042 (9th Cir. 2008) .................................................................................................19

Landmann v. Bann-Cor,
   2003 WL 23742558 (S.D. Ill. Feb. 10, 2003) ............................................................................9

Landmann v. Bann-Cor,
   2004 WL 1944789 (S.D. Ill July 16, 2004) ...............................................................................9

Mar Food Corp. v. Doane,
  405 F. Supp. 730 (N.D. Ill. 1975) ............................................................................................18



                                                                    ii
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 4 of 25 Page ID #692




Marion Healthcare, LLC v. Becton Dickinson & Co.,
  952 F.3d 832 (7th Cir. 2020) .............................................................................1, 2, 5, 6, 15, 18

Mercatus Grp., LLC v. Lake Forest Hosp.,
   641 F.3d 834 (7th Cir. 2011) ...................................................................................................17

Ortiz v. Fibreboard Corp.,
   527 U.S. 815 (1999) ...................................................................................................................9

Payton v. Cnty. of Kane,
   308 F.3d 673 (7th Cir. 2002) .....................................................................................................9

In re Pool Prods. Distribution Mkt Antitrust Litig.,
    166 F. Supp. 3d 654 (E.D. La. 2016) .......................................................................................14

Raines v. Byrd,
   521 U.S. 811 (1997) ...................................................................................................................7

Retractable Techs., Inc. v. Becton Dickinson & Co.,
   842 F.3d 883 (5th Cir. 2016) .............................................................................................17, 18

Rubloff Dev. Grp., Inc. v. SuperValu, Inc.,
   863 F. Supp. 2d 732 (N.D. Ill. 2012) .........................................................................................8

Spokeo, Inc. v. Robins,
   136 S. Ct. 1540 (2016) ...............................................................................................................7

Valley Liquors, Inc. v. Renfield Importers, Ltd,
   822 F.2d 656 (7th Cir. 1987) .............................................................................................10, 11

Weit v. Continental Ill. Nat’l Bank & Trust Co. of Chi.,
   641 F.2d 457 (7th Cir. 1981) ...............................................................................................8, 13

In re Zinc Antitrust Litig.,
    155 F. Supp. 3d 337 (S.D.N.Y. 2016)......................................................................................16

42nd Parallel N. v. E St. Denim Co.,
   286 F.3d 401 (7th Cir. 2002) .............................................................................................11, 13

Other Authorities

Fed. R. Civ. P. 12(b)(6)....................................................................................................................1
Frank H. Easterbrook, Vertical Arrangements and the Rule of Reason, 53
   ANTITRUST L.J. 135 (1984) ......................................................................................................10




                                                                     iii
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 5 of 25 Page ID #693




        Defendants Cardinal Health, Inc. (“Cardinal”) and McKesson Medical-Surgical, Inc.

(“McKesson”) respectfully move under Federal Rule of Civil Procedure 12(b)(6) to dismiss the

Second Amended Class Action Complaint (“SAC”) (Dkt. 150) filed by Plaintiffs Marion

Diagnostic Center, LLC and Marion Healthcare, LLC (“Plaintiffs”), and submit this memorandum

of law in support of motion.

                                  PRELIMINARY STATEMENT

        After years of failed efforts, Plaintiffs still cannot allege a viable antitrust violation

involving their purchase of Becton Dickinson and Company (“BD” or “Becton”) syringes, safety

syringes, and safety IV catheters (“Products”) at purportedly inflated, supracompetitive prices.

Plaintiffs have tried three times in this Court alone to allege a conspiracy to restrain trade between

BD and distributors to sell BD Products to Plaintiffs and the putative classes they seek to represent.

Their latest effort—the SAC—attempts to allege two separate vertical conspiracies (one between

BD and Cardinal,1 and one between BD and defendant McKesson). The SAC is no more viable

than any of Plaintiffs’ prior iterations.

        The SAC fails for multiple reasons. First, because Plaintiffs did not purchase any Product

from Cardinal, they lack Article III standing to sue Cardinal. Second, to state a viable claim of a

vertical conspiracy to restrain trade, Plaintiffs must allege that each participant in each alleged

vertical conspiracy has market power. Plaintiffs did not and cannot do so, because the four

distributors Plaintiffs originally sued are now all alleged to be competitors of one another. Third,

Plaintiffs largely re-allege the same facts the Seventh Circuit already found insufficient to establish

a conspiracy to restrain trade, see Marion Healthcare, LLC v. Becton Dickinson & Co., 952 F.3d




1 Cardinal notes that Plaintiffs have erroneously named Cardinal Health, Inc. The distribution entity
relevant to Cardinal’s purchases of Products is Cardinal Health 200, LLC.
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 6 of 25 Page ID #694




832, 837, 842–43 (7th Cir. 2020), and the new allegations Plaintiffs tack on to the SAC cannot

save their claims because they allege (if anything) business torts, not antitrust violations.

       These failings are fatal, as the Seventh Circuit made abundantly clear: “If the distributors

were not part of the alleged conspiracy, then Providers’ case falls apart: no conspiracy, no direct

purchaser status, no right to recover.” Marion, 952 F.3d at 841.

       Plaintiffs have had numerous opportunities to allege a viable claim. The first try was a suit

brought by the same counsel on behalf of a different plaintiff alleging BD violated the antitrust

laws in passing supracompetitive prices on to purchasers through cost-plus contracts with

distributors. As here, plaintiffs alleged BD used so-called “exclusionary schemes” to maintain its

market power: rebates, bundling, penalty provisions, sole-source provisions, technology theft,

deceptive advertising, and acquiring rivals to eliminate competition. The court dismissed the case

because plaintiffs failed to allege a plausible antitrust claim. Glynn-Brunswick Hosp. Auth. v.

Becton, 159 F. Supp. 3d 1361 (S.D. Ga. 2016).

       Plaintiffs then tried this Court, alleging in an amended complaint that BD, Cardinal,

McKesson, two other distributors, and two “group purchasing organizations” or “GPOs” were

engaged in a horizontal “hub and spoke” conspiracy. The Seventh Circuit rejected that alleged

conspiracy for failing to allege a plausible antitrust claim. Marion, 952 F.3d at 842–43.

       Plaintiffs now abandon their hub and spoke theory along with claims against many market

participants they previously asserted were co-conspirators, and instead allege two separate vertical

conspiracies. But, as shown below, these latest conspiracy claims are just as legally deficient as

the last claims. Plaintiffs’ counsel has been trying for years to contrive some conspiracy theory

involving BD and others to inflate the prices of Products they purchased. They have failed at every

step. Despite taking nearly six months to craft a new complaint after the Seventh Circuit’s



                                                  2
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 7 of 25 Page ID #695




rejection of their last conspiracy claim, and knowing from the start that they lack standing to pursue

claims against Cardinal, Plaintiffs again filed a complaint that is deficient as a matter of law. The

time has come to end this case. The Court should now dismiss this case with prejudice.

                                         BACKGROUND

A.     The Markets For The Relevant Products.

       This case concerns the sale of syringes, safety syringes, and safety IV catheters in the

United States. SAC ¶ 1. BD is a manufacturer of these Products. Cardinal and McKesson

distribute medical supplies, including the Products, to healthcare providers like Plaintiffs, but they

are not involved in setting the prices of BD Products. Plaintiffs participate with other providers in

GPOs that negotiate with BD on behalf of their members and agree to terms and conditions,

including prices, at which BD will sell and Plaintiffs will purchase BD Products. Id. ¶¶ 2, 22–23.

Each provider may (but is not required to) purchase medical products pursuant to the terms

negotiated by its GPO from a distributor authorized to sell the manufacturer’s goods. Id. ¶ 23.

Whatever complaints Plaintiffs may have against the GPOs for the contracts with BD are no longer

at issue because Plaintiffs have dropped the GPOs from the case.

       Cardinal and McKesson play no role in negotiating the prices, volumes, terms, or rebates

for BD Products. When a provider (such as a Plaintiff) wants to purchase BD Products, it contacts

a distributor authorized to sell BD Products that resells the Products to providers at the prices and

terms the providers negotiated on their own or through their GPOs (at the provider’s election).

Id. ¶ 2. Cardinal and McKesson—like distributors generally—charge a “percentage markup” on

the products sold to account for the services they each provide. Id. ¶ 23. They keep track of

purchases to ensure providers that meet the volume targets get their contracted-for rebates, and

pay the correct price. They also pay “administrative fees” to the providers’ GPOs based on the

volume of BD purchases made by the providers under their respective GPO contracts. Id. ¶¶ 22–

                                                  3
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 8 of 25 Page ID #696




23, 44–46, 53. BD sometimes negotiates for distributors to promote its Products “as the preferred

brand” and rewards distributor salespeople with “bonuses.” Id. ¶¶ 49–51, 59.

       In addition to Cardinal and McKesson, Plaintiffs acknowledge that there are “other

distributors” (not alleged to have conspired with BD) “who are willing to give their customers

more freedom to choose non-Becton Products,” and to which each of Cardinal and McKesson is

“at risk of losing profits and market share.” Id. ¶ 61. In the Amended Class Action Complaint

(“FAC”) (Dkt. 52), Plaintiffs identified two other major distributors of BD Products: Owens &

Minor (“O&M”) and Henry Schein Inc. (“Schein”). Plaintiffs averred that O&M was “one of the

largest distributors of Becton conventional syringes, safety syringes, and safety IV catheters in the

United States,” FAC ¶ 15, and that O&M, Schein, Cardinal, and McKesson collectively controlled

the “massive share” of the (irrelevant) medical devices and supplies distribution market that

Plaintiffs now claim is controlled solely by Cardinal and McKesson. Compare id. ¶ 35, with

SAC ¶ 26. Plaintiffs now allege that O&M and Schein are not co-conspirators after all, but

competitors to Cardinal and McKesson. See SAC ¶ 26. Plaintiffs likewise have abandoned any

claim that Cardinal and McKesson conspired with one another. Each is alleged to have conspired

only with BD. See SAC ¶¶ 23, 34, 43, 97, 102, 109.

B.     Initial Motions To Dismiss.

       In the FAC, Plaintiffs alleged a “hub and spoke” conspiracy between BD, two GPOs, and

four distributors (including Cardinal and McKesson). All defendants moved to dismiss the FAC.

Granting BD’s motion, this Court found Plaintiffs could not sue because the antitrust laws limit

damage claims to those plaintiffs that purchased directly from the alleged wrongdoer. See Dkt.

117. Distributors Cardinal and McKesson, joined by then co-defendants O&M and Schein, had

argued the FAC did not state a claim for a conspiracy to restrain trade. Dkt. 85. This Court did

not reach the issues argued in the distributors’ motion.

                                                 4
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 9 of 25 Page ID #697




C.      Seventh Circuit Appeal.

        On appeal, the Seventh Circuit found the “conspiracy exception” to Illinois Brick permitted

Plaintiffs to sue. Marion, 952 F.3d at 841. It stated that where Plaintiffs bought indirectly from

BD, they could nevertheless sue if they purchased from a BD co-conspirator. The Seventh Circuit

noted that because “the distributors are the entities from which the Providers purchased the

products at issue,” the case falls apart “[i]f the distributors were not part of the alleged conspiracy.”

Id. If there is “no conspiracy,” there is “no direct purchaser status, [and] no right to recover.” Id.

        The Seventh Circuit agreed with distributors that Plaintiffs had failed to allege a plausible

antitrust conspiracy. First, the Seventh Circuit held that the distributors could not be liable for

actions related to Product pricing: that distributors “buy and sell the [Products] according to the

terms of contracts that . . . GPOs allegedly negotiated in a crooked fashion [with Becton] . . . is

insufficient to find a conspiracy between the distributors and Becton.” See id. at 842. The Court

held that the distributors do not violate the antitrust laws by charging a price negotiated by

Plaintiffs’ agents and BD. Second, the Court found that the distributors’ other alleged actions,

such as applying volume discounts or rewarding customers for continued loyalty, were not antitrust

violations. “[T]aken alone or together,” the Court held these claims “do not suffice” to establish

the participation of distributors like Cardinal and McKesson in a conspiracy with BD to restrain

trade. Id. at 843. Third, the Court found that Plaintiffs’ complaint failed to allege a hub and spoke

conspiracy among the defendants, as it did not allege any horizontal agreement between the

distributors to participate in the conspiracy. It then remanded the case to this Court and permitted

Plaintiffs to re-plead a claim, consistent with their Rule 11 obligations, if “they believe they can

adequately plead that the distributors were part of the putative [hub and spoke] conspiracy.” Id.




                                                   5
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 10 of 25 Page ID #698




D.     Second Amended Complaint.

       Plaintiffs now offer a wholly different conspiracy theory. They allege two supposed

separate, vertical conspiracies between: (1) BD and Cardinal (Count I); and (2) BD and McKesson

(Count II). SAC ¶¶ 70–72. Cardinal and McKesson still have nothing to do with setting the prices

Plaintiffs pay for BD Products: Plaintiffs continue to allege the prices they pay are set in

negotiations between BD and Plaintiffs, or between BD and Plaintiffs’ GPO. See id. ¶¶ 23, 35.

       Plaintiffs’ vertical conspiracy allegations, however, arise in a distribution market in which

Plaintiffs concede that Cardinal and McKesson have competitors, including each other. Compare

id. ¶¶ 23, 34, 43, 97, 102, 109 (alleging “independent” vertical conspiracies between BD and each

of Cardinal and McKesson), with FAC ¶ 89. See also Marion, 952 F.3d at 842 (Plaintiffs “allege

that Becton and the distributors were members of a ‘hub-and-spokes conspiracy’”). Plaintiffs

acknowledge that other companies like Schein and O&M are authorized distributors of BD

Products; indeed, O&M is “one of the largest.” FAC ¶¶ 15, 17. These distributors are not alleged

to have conspired with BD, or with Cardinal or McKesson; instead, Plaintiffs acknowledge they

are alternative competing distributors to which providers like Plaintiffs can turn. SAC ¶ 61.

       Plaintiffs continue to rely on allegations the Seventh Circuit found “insufficient” to find an

unlawful conspiracy to restrain trade between the distributors and Becton.” Marion, 952 F.3d at

842. The Seventh Circuit found distributors have no involvement in the pricing of Products and

buy and sell Products and engage in other distribution activities consistent with the terms of the

BD-GPO contracts, including providing incentives to purchase BD Products. Id.; see also SAC

¶¶ 45–47. Plaintiffs allege new activities in addition to those the Seventh Circuit already found

insufficient, see SAC ¶¶ 48–57; see also Section II.B.2, infra, but those new assertions, as

explained below, fail to allege antitrust violations.



                                                  6
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 11 of 25 Page ID #699




                                            ARGUMENT

       The SAC should be dismissed on two grounds. First, Plaintiffs allege they purchased BD

Products only from McKesson, and not Cardinal.             SAC ¶¶ 8–9.      As such, Plaintiffs lack

constitutional standing to sue Cardinal in Count I because the injury they claim (paying

supracompetitive prices for Products, e.g., id. ¶ 7) is not “fairly traceable” to any conduct by

Cardinal. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). Second, both vertical conspiracy

claims are defective for two reasons, each of which is an independently sufficient basis for

dismissal. To state a vertical conspiracy claim, Plaintiffs must plead: (1) market power for each

party to each alleged conspiracy, and that (2) each conspiracy—independently—unreasonably

restrained trade. Plaintiffs do neither.

I.     PLAINTIFFS LACK STANDING TO SUE CARDINAL.

       A. Plaintiffs Allege Facts Proving They Lack Article III Standing To Sue Cardinal.

       Plaintiffs allege no purchases from Cardinal, and therefore lack standing to sue Cardinal.

Standing to sue is rooted in the understanding of “cases” and “controversies” that “limits the

category of litigants empowered to maintain a lawsuit in federal court to seek redress for a legal

wrong.” Spokeo, 136 S. Ct. at 1547. As the Supreme Court has explained: “No principle is more

fundamental to the judiciary’s proper role in our system of government than the constitutional

limitation [in Article III] of federal-court jurisdiction to actual cases or controversies.” Raines v.

Byrd, 521 U.S. 811, 818 (1997). To survive a motion to dismiss, “a plaintiff must ‘clearly allege

facts demonstrating each element’ required to establish she has standing.” Jett v. Warrantech

Corp. 436 F. Supp. 3d 1170, 1175 (S.D. Ill. 2020) (quoting Spokeo, 136 S. Ct at 1547).

       Plaintiffs’ allegations preclude standing to sue Cardinal. The “‘irreducible constitutional

minimum’ of standing requires” that the SAC show “that a plaintiff has ‘(1) suffered an injury in

fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to

                                                   7
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 12 of 25 Page ID #700




be redressed by a favorable judicial decision.’” Id. (quoting Spokeo, 136 S. Ct. at 1547). It is a

“fundamental requirement . . . that plaintiffs establish a sufficient nexus between the defendant’s

alleged actions and an injury to plaintiffs,” and that they do so “at the time the complaint is filed.”

Weit v. Continental Ill. Nat’l Bank & Tr. Co. of Chi., 641 F.2d 457, 469 (7th Cir. 1981). Absent

such a nexus, there is no “case or controversy” between the parties, and dismissal is required.

Jackson v. Resolution GGF Oy, 136 F.3d 1130, 1132 (7th Cir. 1998) (dismissing claims against

Norwest for lack of standing, and chiding district court for failing to give “priority consideration”

to Norwest’s motion raising the “jurisdictional issue” of whether named plaintiffs had standing to

sue Norwest, given that Norwest held none of the notes signed by named plaintiffs).

        Plaintiffs acknowledge they purchased no Products from Cardinal. SAC ¶¶ 8–9. Thus, no

injury Plaintiffs complain about—paying supracompetitive prices for the Products they purchased

from McKesson—can be traced to anything Cardinal did as part of the alleged independent vertical

conspiracy between it and BD. Id. ¶¶ 23, 34, 43, 97, 102.2 Plaintiffs therefore lack standing to

sue Cardinal. See, e.g., Jett, 436 F. Supp. 3d at 1177 (granting motion to dismiss named plaintiff’s

injunctive relief claims in putative class action because she failed to “set forth any facts showing

she face[d] a real and immediate threat of future harm,” and thus did “not have Article III standing

to obtain an injunction against Defendants”); see also Weit, 641 F.2d at 469 (affirming dismissal

of vertical conspiracy claims against defendant Pullman in putative class action where no named

plaintiff held Pullman credit cards at time suit was filed); Rubloff Dev. Grp., Inc. v. SuperValu,

Inc., 863 F. Supp. 2d 732, 741 (N.D. Ill. 2012) (dismissing for failure to plead causal connection



2 Plaintiffs attempt to avoid this dispositive fact by repeatedly making the conclusory allegation that they
“have paid above-competitive prices caused by the Becton–distributor conspiracies’ cumulative effect
sustaining Becton’s market power and dominance in the relevant markets.” SAC ¶ 7; see also id. ¶¶ 24,
26, 33–34, 71. But that effort fails because Plaintiffs must allege injury as a result of the alleged BD–
Cardinal vertical conspiracy alone. See Section II.A.2, infra.

                                                     8
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 13 of 25 Page ID #701




between alleged antitrust violation and injury); Landmann v. Bann-Cor, 2003 WL 23742558, at

*3 (S.D. Ill. Feb. 10, 2003) (“As a constitutional matter, the ‘Plaintiff must show that he himself is

injured by the challenged action of the defendant.’” (emphasis added) (quoting Vill. of Arlington

Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 261 (1977)); accord Dickson v. Microsoft

Corp., 309 F.3d 193, 200 n.7 (4th Cir. 2002) (noting that when plaintiffs amended their complaint

to allege separate vertical conspiracies, rather than a hub and spoke conspiracy, plaintiffs “did not

allege a separate [vertical] conspiracy between Microsoft and PB . . . because none of the named

plaintiffs purchased a PC from PB”).

       B. Plaintiffs Cannot Establish Article III Standing By Piggy-Backing On The
          Hypothetical Claims Of Unnamed Putative Class Members.

       Plaintiffs cannot save their claims against Cardinal by “piggy-back[ing] on the [alleged]

injuries of the unnamed [putative] class members.” Payton v. Cnty. of Kane, 308 F.3d 673, 682

(7th Cir. 2002). The Seventh Circuit has held that doing so “would be impermissible”:

       [A] named plaintiff cannot acquire standing to sue by bringing his action on behalf
       of others who suffered injury which would have afforded them standing had they
       been named plaintiffs; . . . a person cannot predicate standing on injury which he
       does not share. Standing cannot be acquired through the back door of a class action.

Id. See also Landmann v. Bann-Cor, 2004 WL 1944789, *4–6 (S.D. Ill July 16, 2004) (recognizing

“general rule” in Ortiz v. Fibreboard Corp., 527 U.S. 815, 831 (1999), “that the court must first

assure itself of its own jurisdiction,” and then, “see[ing] no reason why simply framing a lawsuit

as a class action removes the Named Plaintiffs’ burden to demonstrate standing,” dismissing for

lack of standing claims against defendants holding no mortgage of any named plaintiff).

       Because Plaintiffs cannot plead a causal connection between Cardinal and Plaintiffs’

alleged overpayment for Products, the Court should dismiss Cardinal for lack of standing.




                                                  9
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 14 of 25 Page ID #702




II.    THE SECOND AMENDED COMPLAINT FAILS TO ALLEGE A PLAUSIBLE
       VERTICAL CONSPIRACY TO UNREASONABLY RESTRAIN TRADE.

       A. Plaintiffs’ Vertical Conspiracy Allegations Do Not Allege the Required Element
          of Market Power or That Either Alleged Conspiracy Itself Restrained Trade.

            1.   Plaintiffs Fail to Plead Each Defendant Individually Has Market Power.

       Vertical agreements have the potential to serve consumer interests and promote

competition by allowing a manufacturer to achieve efficiencies in product distribution, provide

better service, and/or advance consumer interests. See Continental T. V., Inc. v. GTE Sylvania

Inc., 433 U. S. 36, 54–55 (1977) (explaining that vertical arrangements can promote competition

and efficiencies in distribution, service, and promotions). Because vertical agreements may be

pro-competitive, they are not per se illegal, and, because they “do not generally give rise to the

same concerns [as per se unlawful horizontal agreements] and often have pro-competitive effects,”

they are not judged under the per se rule. Campfield v. State Farm Mut. Auto. Ins. Co., 532 F.3d

1111, 1119 (10th Cir. 2008).

       One requirement (among many) for a vertical arrangement to be unlawful is that each

participant in the arrangement must have market power in the relevant product market(s). See

GTE Sylvania, 433 U.S. at 49, 59 (vertical agreements illegal only if they present anticompetitive

effects); see also Dickson, 309 F.3d at 207–11 (for a vertical conspiracy claim to be viable, plaintiff

must allege each participant’s market power); Frank H. Easterbrook, Vertical Arrangements and

the Rule of Reason, 53 ANTITRUST L.J. 135, 160 (1984) (“[T]he possibly anticompetitive

manifestations of vertical arrangements can occur only if there is market power.”). Market power

is a “necessary ingredient” in every case challenging a vertical arrangement. Ball Mem’l Hosp.,

Inc. v. Mut. Hosp. Ins., Inc., 784 F.2d 1325, 1334 (7th Cir. 1986); see also Valley Liquors, Inc. v.

Renfield Importers, Ltd, 822 F.2d 656, 666 (7th Cir. 1987). Market power is the “power to raise

prices significantly above the competitive level without losing all of one’s business.” Valley

                                                  10
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 15 of 25 Page ID #703




Liquors, 822 F.2d at 666. Unless each alleged conspirator has market power, buyers can turn to

other market participants, or even one or the other of the alleged conspirators, and the alleged

conspiracy would have no anticompetitive effect. 42nd Parallel N. v. E St. Denim Co., 286 F.3d

401, 405–06 (7th Cir. 2002) (affirming dismissal where plaintiff acknowledged that the defendant

had competitors and failed to allege facts showing why those competitors did not prevent the

defendant from having market power); Dickson, 309 F.3d at 208 (concluding that, “given the

failure to allege the market power of Compaq or Dell, Gravity is unable to show that Compaq or

Dell has forced, or is likely to be able to force, supracompetitive prices on consumers for

undesirable software features,” plaintiff failed to adequately plead a vertical conspiracy between

Microsoft and either Compaq or Dell).

       Plaintiffs allege three relevant “Product Markets”: (1) conventional syringes, (2) safety

syringes, and (3) safety IV catheters. SAC ¶ 17. Plaintiffs do not allege that either Cardinal or

McKesson possesses market power or even participates in any of these markets. Nor do they allege

Cardinal or McKesson had the power to increase the price for its distribution services in any

market. Instead, Plaintiffs allege only that Cardinal and McKesson “control a massive share of

the distribution of medical devices and supplies.” Id. ¶ 26 (emphasis added). Plaintiffs neither

allege this is a relevant market nor quantify what “massive” means. Plaintiffs also allege nothing

at all about Cardinal’s or McKesson’s respective shares of the distribution of any BD Product.

       Nor is Plaintiffs’ bare assertion that Cardinal and McKesson together “control a massive

share” of medical supply distribution sufficient to support an inference of market power in any

market, let alone the Product Markets. While Plaintiffs complain that “Cardinal and other Becton

distributors” construct “wide economic moats” to keep out entrants, Plaintiffs conspicuously do

not allege which of those “other Becton distributors” has the benefit of the so-called “moats,” or



                                               11
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 16 of 25 Page ID #704




even if they include McKesson,3 id., and anyway entrants are not needed to restrain competition

where, as Plaintiffs acknowledge here, there are already currently strong competitors. To the

extent the SAC says anything about the prices Cardinal and McKesson charge for their distribution

services, Plaintiffs plead that Cardinal and McKesson have used their “large economies of scale”

to “lower” prices for distribution services. SAC ¶ 30 (emphasis added). Unless lower prices are

part of a predatory practice to price below cost, which is not alleged here, the antitrust laws do not

prohibit, but instead encourage, them. Atl. Richfield Co. v. USA Petroleum Co., 495 U.S. 328,

339 (1990). Plaintiffs’ allegations show Cardinal and McKesson do not have market power. They

compete with each other, and other distributors, who have forced them to lower prices—the polar

opposite of alleging that either has market power.

        Finally, Plaintiffs’ allegations concede that neither Cardinal nor McKesson has market

power in the Product Markets. The SAC alleges that there are “other distributors” in addition to

Cardinal and McKesson that have not conspired with BD; those distributors “are willing to give

their customers more freedom to choose non-Becton Products”; and each of Cardinal and

McKesson is “at risk of losing profits and market share” to those distributors. SAC ¶ 61. These

include O&M—“one of the largest distributors of Becton conventional syringes, safety syringes,

and safety IV catheters in the United States,” FAC ¶ 15—and Schein, id. ¶ 17. Thus, Plaintiffs’

allegations refute any inference of either Cardinal’s or McKesson’s market power in any alleged

relevant market.




3 Nor  does the citation-less metaphor about Cardinal’s “moats” fill the fatal “market power” pleading gap.
SAC ¶ 26. First, because it speaks of conduct allegedly engaged in by “Cardinal and other Becton
distributors,” it says nothing about Cardinal’s individual power or share. Id. (emphasis added). Second, it
is a quote about medical “devices and supplies” (of which there are thousands), not any of the Product
Markets at issue here. Id.

                                                    12
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 17 of 25 Page ID #705




       Without an allegation of market power, there is no plausible answer to the question: “Why

would a provider pay more for BD Products from Cardinal or McKesson, when those providers

could purchase the same BD Products from other distributors, either at a lower price or without

the unfair business practices?” The only way the actions alleged in the SAC could persist is if

customers could not switch from Cardinal to McKesson, from McKesson to Cardinal, or from

either to other distributors, such as O&M or Schein. Any other distributor—and Plaintiffs allege

there are several powerful ones (including two they no longer allege conspired with BD)—would

step in to correct any market imbalance. Cardinal would act to undercut McKesson, McKesson

would act to undermine Cardinal, and O&M and Schein would act to undercut both. As this Court

held in 42nd Parallel North, where competitors exist, a plaintiff must allege facts showing the

defendants have market power to state a vertical conspiracy claim. 286 F.3d at 405–06.

            2.   Plaintiffs Cannot Aggregate BD’s, Cardinal’s, and McKesson’s Market
                 Shares to Allege the Vertical Conspiracies Unreasonably Restrained Trade.

       A vertical agreement also is unlawful if it creates an unreasonable restraint of trade. GTE

Sylvania, 433 U.S. at 58–59. Plaintiffs attempt to plead restraint of trade by alleging that BD,

Cardinal, and McKesson, collectively, restrained trade; they do not plead each alleged conspiracy’s

individual restraint on trade. See SAC ¶¶ 7, 24, 26, 71, 101, 108. But where, as here, a plaintiff

asserts separate conspiracies, it may not aggregate anticompetitive effect. It must allege that each

conspiracy is independently actionable. The Court of Appeals for the Fourth Circuit made this

legal principle clear in Dickson v. Microsoft Corp., 309 F.3d 193, 210–11 (4th Cir. 2002).

       In Dickson, plaintiffs alleged separate vertical conspiracies between Microsoft, as the

manufacturer of its Windows Operating System, and each of Compaq and Dell, PC manufacturers

that installed Windows on their computers before selling them to consumers. Compaq and Dell

each moved to dismiss because plaintiffs had failed to allege that either of them had power in the


                                                13
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 18 of 25 Page ID #706




relevant PC market. The district court dismissed the case, and the Fourth Circuit affirmed, holding

that for the plaintiff to assert a viable antitrust claim, “it was required to allege facts which, if

proven true, would demonstrate that Compaq’s or Dell’s individual agreements with Microsoft

were likely to result in an anticompetitive effect.” Id. at 211. Without alleging facts showing

either alleged conspiracy had the power to restrain trade, plaintiffs were unable to do so.

       The court explained that, where, as here, plaintiffs allege separate conspiracies:

       each . . . agreement must be treated as a separate conspiracy, and only acts taken in
       furtherance of that alleged conspiracy are appropriately considered in determining
       the adverse effects of the claimed restraints on trade, not acts of one conspirator
       taken in furtherance of other possible, distinct conspiracies. . . . Indeed, to hold
       otherwise would be to suggest that the distinction between a single conspiracy and
       multiple conspiracies involving a common defendant is one without a difference.

 Id. Thus, Plaintiffs’ failure to plead that the alleged conspiracy between BD and Cardinal

restrained trade is fatal to Count I. Likewise, their failure to plead that the alleged conspiracy

between BD and McKesson restrained trade is fatal to Count II. See, e.g., id.; In re Pool Prods.

Distribution Mkt. Antitrust Litig., 166 F. Supp. 3d 654, 681 (E.D. La. 2016) (“In assessing

anticompetitive effects in the context of these vertical claims, the focus is not just on Pool’s market

share, but also on whether each Manufacturer Defendant had market power of antitrust concern.”

(emphasis added) (citing Dickson, 309 F.3d 207–11)).

       B. Plaintiffs Also Fail to Allege Conduct Supporting an Inference of Conspiracy
          Between Either BD and Cardinal, or Between BD and McKesson.

       The SAC also is defective because Plaintiffs’ own allegations refute any inference of a

vertical conspiracy. The SAC’s wrongful conduct allegations fall into two categories: (1) the

contracts between BD and GPOs that the Seventh Circuit found did not support an inference of

conspiracy; and (2) business conduct of Cardinal and McKesson. These allegations do not support

an inference of either alleged conspiracy.



                                                  14
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 19 of 25 Page ID #707




            1.   The Seventh Circuit Rejected Antitrust Claims Against Cardinal and
                 McKesson Based on the BD-GPO Contracts.

       In the FAC, Plaintiffs alleged that the Net Dealer Contracts by which BD and Plaintiffs

agreed to the prices charged for Products formed the basis for antitrust liability against Cardinal

and McKesson. FAC ¶¶ 42, 45, 47. The Seventh Circuit held these allegations insufficient to state

a claim against Cardinal and McKesson because Plaintiffs made “no argument that the distributors

play any role in setting the anticompetitive pricing.” Marion, 952 F.3d at 843. The SAC continues

to allege that the purportedly above-market prices Plaintiffs complain about were negotiated by

Plaintiffs’ GPOs and BD, without any involvement by either Cardinal or McKesson. SAC ¶¶ 35,

45. The Seventh Circuit’s holding compels the Court to reject these allegations.

       The Seventh Circuit also rejected conspiracy claims based on alleged distributor conduct

that Plaintiffs re-allege here. In the FAC, Plaintiffs pled that the distributors, including Cardinal

and McKesson, each “agree to distribute Becton’s products pursuant to anticompetitive contractual

terms[,] . . . enforce Becton’s penalty pricing system, which penalizes the healthcare providers if

they switch to a different manufacturer[, and] . . . make payments to the GPOs based on the volume

of sales under the contracts.” Marion, 952 F.3d at 842–43. Plaintiffs complained of bundling,

volume discounts, and other aspects of the BD–GPO agreements that the GPOs voluntarily entered

into on Plaintiffs’ behalf. Id. The Seventh Circuit found these allegations, “taken alone or

together,” insufficient to establish the Distributors’ participation in a conspiracy. Id. at 843.

Plaintiffs nonetheless reassert them here. Compare SAC ¶¶ 45–47, with FAC ¶¶ 44–46. The

Seventh Circuit’s opinion forecloses an inference of conspiracy from these recycled allegations.

            2.   Plaintiffs’ New Allegations That Distributors Engaged in Improper Business
                 Conduct Do Not State an Antitrust Violation.

       In an attempt to rehabilitate their failed conspiracy allegations, Plaintiffs now allege other

conduct they claim that one or another distributor engaged in at some time. Plaintiffs’ additional

                                                 15
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 20 of 25 Page ID #708




allegations of improper business conduct by “Distributors”—without distinguishing between

them—and without any allegation that either acted pursuant to an agreement with BD—allege, at

most, business torts, not antitrust violations. See SAC ¶¶ 47–57.

        Plaintiffs now claim “Distributors”:

            Pressure providers to buy more BD products, and if pressure tactics do not work, cut
             off credit lines and increase delivery fees. SAC ¶ 47.

            Lie to providers to dissuade them from buying non-BD products, misrepresent prices,
             and make other false statements. SAC ¶ 48.

            Embed employees in hospitals to steer purchasers toward BD. SAC ¶ 52.

            Use BD’s false “cost calculator” to show providers that BD’s products cost less than
             its competitors’ products. SAC ¶ 54.

            Pressure providers to use only one GPO contract, at BD’s urging. SAC ¶ 56.

            Monitor their own employees to make sure they “are effective in enforcing” BD’s
             exclusive-dealing terms, and give better evaluations to employees who “were
             successful in inducing providers to meet volume requirements.” SAC ¶ 57.4

Even accepting these factual allegations as true, they are insufficient to state an antitrust claim.

        First, these allegations reflect defective “group pleading.” See, e.g., In re Zinc Antitrust

Litig., 155 F. Supp. 3d 337, 384–86 (S.D.N.Y. 2016) (dismissing antitrust conspiracy claim against

defendants as a group: “Plaintiffs must be able to separately state a claim against each and every

defendant joined in this lawsuit”). Although the SAC alleges no relationship—let alone a

conspiratorial one—between Cardinal and McKesson, Plaintiffs’ allegations lump the two

together, describing them as “Distributors” without distinguishing the alleged separate conduct of

each. With one exception, the section of the SAC alleging the “Becton-Distributor Conspiracies”




4 The SAC also asserts, without facts, that Distributors “may” (so, presumably, may not) require providers
to buy a certain percentage of Products from a single distributor to divide up markets between distributors.
SAC ¶ 55. This claim would require the distributors to have conspired with each other, but here Plaintiffs
have tried to avoid the Seventh Circuit’s skepticism by eschewing any horizontal conspiracy theory.

                                                    16
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 21 of 25 Page ID #709




only mentions “Distributors” or “Cardinal and McKesson.” See SAC ¶¶ 43–61.5 The SAC does

not allege wrongful conduct of each defendant. Courts reject group pleading when plaintiffs are

attempting to allege a single conspiracy. And here, where Plaintiffs attempt to allege that Cardinal

and McKesson have each engaged in separate conspiracies with BD, this group pleading fails all

the more. Plaintiffs must, but do not, allege acts that give rise to a plausible inference of conspiracy

by each alleged co-conspirator in each alleged conspiracy.

        Second, absent plausible allegations that the alleged conduct harmed competition, as here,

the alleged acts are not antitrust violations. While “many kinds of conduct may prevent or

discourage a potential competitor from entering a particular market, . . . [f]ederal antitrust laws are

implicated only when that conduct is predatory or unjustifiable.” Mercatus Grp., LLC v. Lake

Forest Hosp., 641 F.3d 834, 854 (7th Cir. 2011). The Seventh Circuit has made clear that

“[i]solated business torts . . . do not typically rise to the level of [an antitrust] violation unless there

is a harm to competition itself.” Id. Even if actions were “somewhat aggressive or heavy-handed,

the antitrust laws do not prohibit ‘conduct that is only unfair, impolite, or unethical.’” Id. at 855–

86 (quoting Schachar v. Am. Acad. of Ophthalmology, Inc., 870 F.2d 397, 400 (7th Cir. 1989)).

        Addressing similar allegations against BD in Retractable Technologies, Inc. v. Becton

Dickinson & Co., 842 F.3d 883 (5th Cir. 2016), the Fifth Circuit held that alleged business torts

involving the marketing of syringes and catheters did not amount to an antitrust conspiracy. Id. at

893, 897–98. In Retractable, a competitor sued BD under the antitrust laws based on claims BD

engaged in patent infringement, false advertising, and market tainting. A jury found for plaintiff,



5 The one exception relates to Cardinal’s acquisition of Covidien.
                                                                 SAC ¶ 50. Plaintiffs make the conclusory
claim that Cardinal preferred selling Becton Products over Covidien Products post-acquisition but do not
allege facts establishing even a single circumstance when that occurred. Plaintiffs do not even allege they
agreed to purchase BD Products from Cardinal, and without such an agreement, a provider would be free
to purchase Covidien products instead.

                                                     17
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 22 of 25 Page ID #710




but the Fifth Circuit reversed, explaining: (1) the Sherman Act does not prohibit unfair conduct,

even by a monopolist; (2) “disreputable” business conduct is not an antitrust violation; and (3) the

antitrust laws do not create a “federal law of unfair competition or ‘purport to afford remedies for

all torts committed by or against persons engaged in interstate commerce.’” Id. at 892–93 (quoting

Brooke Grp. Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 255 (1993)).

       Moreover, as explained above, Plaintiffs do not allege that either Cardinal or McKesson

has market power, and without market power, even hypothetical bad business conduct cannot harm

competition. As the Seventh Circuit explained in Havoco of America, Ltd. v. Shell Oil Co., 626

F.2d 549, 557 (7th Cir. 1980), in addressing whether business conduct is an antitrust violation,

“the sole question is whether those means lessened competition. . . . [U]nfair competition is still

competition, and will be actionable under the antitrust laws generally only where a defendant with

substantial market power uses unfair means to increase its share of the market by eliminating a

competitor, thereby creating the risk of a monopoly.” Id. In so holding, the Seventh Circuit relied

on “the repeated view of the Supreme Court that the antitrust laws do ‘not purport to afford

remedies for all torts committed by or against persons engaged in interstate commerce.’” Id.

(quoting Hunt v. Crumboch, 325 U.S. 821, 826 (1945)). Without an allegation that each defendant

possessed market power and each engaged in specific business conduct to stifle competition in the

relevant market, allegations of bad business conduct “do not state a cause of action under section

one of the Sherman Act.” Mar Food Corp. v. Doane, 405 F. Supp. 730, 730 (N.D. Ill. 1975).

       Third, the alleged conduct is not actionable because it is consistent with each distributor’s

self-interest, and Plaintiffs do not offer any allegations (plausible or otherwise), that Cardinal

agreed with BD, and McKesson separately agreed with BD, to engage in any of these acts. To

allege an antitrust conspiracy, a plaintiff also must plead a defendant had “a conscious commitment



                                                18
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 23 of 25 Page ID #711




to a common scheme designed to achieve an unlawful objective.” Marion, 952 F.3d at 841 (citing

Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S. 752, 768 (1984) (emphasis added)). In assessing

a complaint’s allegations, “facts that could just as easily suggest rational, legal business behavior

by the defendants as they could suggest an illegal conspiracy are insufficient to plead a violation

of the antitrust laws.” Kendall v. Visa U.S.A., Inc., 518 F.3d 1042, 1049 (9th Cir. 2008) (citing

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 553–58, 557 n.5 (2007)).

       Plaintiffs ask the Court simply to infer that Cardinal and McKesson each separately agreed

with BD to engage in conduct to cause their customers to purchase BD Products at inflated prices.

But that inference is unreasonable because, without the critical allegation that Cardinal or

McKesson had market power such that their customers had no choice but to pay BD’s prices, those

customers could turn instead “to other distributors who are willing to give their customers more

freedom to choose non-Becton Products.” SAC ¶ 61. Given the existence of other distributors to

which Cardinal and McKesson were each “at risk of losing profits and market share,” id., each

would persist in the conduct only if it promoted its individual economic self-interests. Otherwise,

engaging in actions to benefit BD would cause each of Cardinal and McKesson to lose sales to

those other distributors. A party pursuing its own economic self-interest is not a conspiracy. See

Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007).

       But that is all that Plaintiffs’ new allegations establish. Plaintiffs allege Cardinal and

McKesson independently sought to increase the amount of BD Products they distribute, allegedly

using unfair practices, at the expense of their distributor competitors. Each action alleged in the

SAC is a method by which Cardinal or McKesson could increase its revenue. Pressuring customers

to purchase more of a Product that the distributor markets and rewarding employees who increase




                                                 19
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 24 of 25 Page ID #712




sales are means for a distributor to increase its own sales and profits, and, thus, are consistent with

each distributor’s independent self-interest.

       Nor do Plaintiffs plausibly allege that Cardinal or McKesson could increase their respective

profits more by selling syringes and catheters manufactured by someone other than BD. Plaintiffs

allege that BD has a “dominant share” of the Product Markets, SAC ¶ 25, and that shifting between

Products is impeded by the GPO contracts, regulatory barriers, patent issues, and lack of

transparency in the GPO relationships, see id. ¶¶ 25, 27–29, 31–32. None of these impediments is

the result of conduct by Cardinal or McKesson. Thus, efforts to increase sales of BD Products are

necessarily in the individual economic interest of each of Cardinal and McKesson, and Plaintiffs

again have failed to state a viable claim for conspiracy.

                                          CONCLUSION

       The time has come for this case to end. Just like Plaintiffs’ prior complaints, the SAC is

deficient as a matter of law. Plaintiffs have had more than ample opportunity to state viable claims.

The Court should now dismiss this case with prejudice.

Dated: November 6, 2020                            Respectfully submitted,


                                                   /s/ Richard L. Stone

Michelle K. Fischer (pro hac vice)                 Richard L. Stone (pro hac vice)
Jones Day                                          David R. Singer (pro hac vice)
North Point                                        Jenner & Block LLP
901 Lakeside Avenue                                633 West 5th Street, Suite 3600
Cleveland, OH 44114-1190                           Los Angeles, CA 90071-2054
(216) 586-7096                                     (213) 239-5100

Paula W. Render (pro hac vice)                     Michael T. Brody
Jones Day                                          Jenner & Block LLP
77 West Wacker Drive                               353 North Clark Street
Chicago, IL 60601-1692                             Chicago, IL 60654-3456
(312) 269-1555                                     (312) 222-9350

Counsel for Cardinal Health, Inc.                  Counsel for McKesson Medical-Surgical, Inc.

                                                  20
Case 3:18-cv-01059-NJR Document 152 Filed 11/06/20 Page 25 of 25 Page ID #713




                            CERTIFICATE OF SERVICE

       I, Richard L. Stone, an attorney, certify that on November 6, 2020, I caused The
Distributor Defendants’ Motion to Dismiss and Memorandum in Support to be served on all
counsel of record listed in the Court’s ECF system.




Dated: November 6, 2020                    /s/ Richard L. Stone
                                           Counsel for McKesson Medical-Surgical, Inc.
